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 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )
11                                           ) Case No. CR.S-04-337-WBS
                         Plaintiff,          )
12                                           )
           v.                                )      STIPULATION AND ORDER;
13                                           )         EXCLUSION OF TIME
                                             )
14                                           )
     LIANNA SUGGETT,                         ) Date: December 7, 2005
15                                           ) Time: 9:00 a.m.
                    Defendant.                 Judge: Honorable William B. Shubb
16   _____________________________

17         IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, JASON HITT, Assistant United States Attorney,

19   attorney for Plaintiff, MARK J. REICHEL, Assistant Federal Defender,

20   attorney for Defendant, that the previously scheduled change of plea

21   hearing date of November 30, 2005 be vacated and a change of plea

22   hearing scheduled for December 7, 2005 at 9:00 am.

23         This continuance is requested as defense counsel needs additional

24   time to review discovery with the defendant, to examine possible

25   defenses and to continue investigation the facts of the case.

26         Accordingly, all counsel and the defendant agree that time under

27   the Speedy Trial Act from the date this stipulation is lodged, through

28   Stip and Order
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 1   December 7, 2005, should be excluded in computing the time within which
 2   trial must commence under the Speedy Trial Act, pursuant to Title 18
 3   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 4   DATED: November 30, 2005.                       Respectfully submitted,
 5                                                   QUIN DENVIR
                                                     Federal Public Defender
 6
 7
                                                     /s/MARK J. REICHEL
 8                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
 9                                                   Attorney for Defendant
10
     DATED: November 30, 2005                        McGREGOR SCOTT
11                                                   United States Attorney
12
13                                                   /s/MARK J. REICHEL for
                                                     JASON HITT
14                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
15
16                                        O R D E R
17        IT IS SO ORDERED. Time is excluded and the hearing continued on
     the dates and upon the grounds set forth - herein above in the interest
18   of justice pursuant to 18 U.S.C. § 3161 (H) (8) (B) (iv) and Local Code
     T4.
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     DATED: November 30, 2005
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     Stip and Order                            2
